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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


ANTHONY A. GARCIA,

       Plaintiff,

v.                                                Case No. 4:19cv407-MW/HTC

MARK S. INCH, et al.,

      Defendants.
___________________________/

                       ORDER ACCEPTING AND ADOPTING
                        REPORT AND RECOMMENDATION

       This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation, ECF No. 10, and has also reviewed de novo Plaintiff’s objections to

the report and recommendation. ECF No. 11. Accordingly,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted, over Plaintiff’s

objections, as this Court’s opinion. The Clerk shall enter judgment stating, “This case is

DISMISSED WITHOUT PREJUDICE pursuant to 28 U.S.C. § 1915(e)(2)(B)(i) as

malicious for Plaintiff’s abuse of the judicial process and for Plaintiff’s failure to follow

this Court’s orders.” The Clerk shall also close the file.

       SO ORDERED on January 3, 2020.

                                           s/Mark E. Walker
                                           Chief United States District Judge
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